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 4                                 UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                Case No. 2:13-cr-00361-KJD-GWF
                                               )
 9   vs.                                       )                ORDER
                                               )
10   ALIA BOBER,                               )
                                               )
11                     Defendant.              )
     __________________________________________)
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            This matter is before the Court on Defendant’s Motion to Approve Request for Permission
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     to Travel (#79), filed April 29, 2014. Defendant Bober requests permission to travel to Lahaina,
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     Hawaii from May 15, 2014 through May 21, 2014. The undersigned has been informed by counsel
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     for the Government that he has no opposition to the request. Accordingly,
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            IT IS HEREBY ORDERED that Defendant’s Motion to Approve Request for Permission
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     to Travel (#79) is granted.
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            DATED: May 2, 2014.
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20                                               ______________________________________
                                                 C.W. Hoffman, Jr.
21                                               United States Magistrate Judge
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